       Case 3:11-cr-00489-JAH                         Document 68             Filed 04/02/14              PageID.176        Page 1 of 2



    'AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
                Sheet I



                                             UNITED STATES DISTRICT COURT                                       tte;{      -2     t,;l 10= 08

                                                  SOUTHERN DISTRICT OF CALIFORNIA                               i




                    UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                        v.                                      (For Revocation of Probation or Supervised Release)
                          David William Griffith -1                             (For Offenses Committed On or After November 1, 1987)


                                                                                Case Number: 11-cr-00489-JAH-l

                                                                                Lynn H Ball
                                                                                Defendant's Attorney
    REGISTRATION No. 86053012
o
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No . ..:O::.,:n;::e:.,:a::,n:.:d:..,:tw;:.:.;::o:.-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is gUilty of the following allegation(s):


    Allegation Number            Nature of Violation
            1,2       Unlawful use of controlled substance (nv3)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through               2      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notity the court and UOlted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                March 28, 2014
                                                                               Date of Imposition of Sentence




                                                                                 ON. JOHN A. HOUSTON
                                                                                UNITED STATES DISTRICT JUDGE




                                                                                                                              ll-cr-00489-JAH-l
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AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment
                                                                                                       Judgmenl- Page _ _2_ of         2
 DEFENDANT: David William Griffith -I
 CASE NUMBER: II-cr-00489-JAH-I
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Three months.




     o The court makes the following recommendations to the Bureau of Prisons:


     o   The defendant is remanded to the custody ofthe United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.             Op.m.    on _ _ _ _ _ _ _ _ _ __

                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before
                          ---------------------------------------------------------------------
           o as     notified by the United States Marshal.
           o as     notified by the Probation or Pretrial Services Office.


                                                                           RETURN

  I have executed this judgment as follows:

          Defendant delivered on                                                          to

  at _________________ , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                                 By _______~~~~==~~~~~----------
                                                                                                  DEPUTY UNITED STATES MARSHAL




                                                                                                                             ll-cr-00489-JAH-l
